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        EXHIBIT 3
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Deposition of Jeffrey Bardwell
                                                                     3/6/2020


                                                                 Page 1
                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ARIZONA


        Ronald H. Pratte,                     )
                                              )
                                              )
                  Plaintiff,                  )
                                              )
                                              ) Case No.
                      vs.                     ) 2:19-cv-00239-PHX-GMS
                                              )
                                              )
        Jeffrey Bardwell and Fanny F.         )
        Bardwell, husband and                 )
        wife,                                 )
                                              )
                                              )
                Defendants.                   )
        ______________________________        )




            VIDEOTAPED DEPOSITION OF JEFFREY MICHAEL BARDWELL

                            Scottsdale, Arizona
                               March 6, 2020
                                 9:39 a.m.




      Prepared for:
      COPY
      Prepared by:                             CARRIE REPORTING, LLC
      SHERYL L. HENKE                          Certified Reporters
      Registered Professional Reporter         2415 E. Camelback Road
      AZ CR No. #50745                         Suite 700
      carrie@carriereporting.com               Phoenix, AZ 85016
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  1                                I N D E X
  2   WITNESS
                                                                       PAGE
  3   JEFFREY MICHAEL BARDWELL
  4           EXAMINATION BY MR. COLLINS                                     6
  5
  6
                                E X H I B I T S
  7
  8   No.              Description                                   Page
  9
        Exhibit 1       Operating Agreement of Pratte                   78
 10                     Construction Company, L.L.C.,
                        Bates stamped Bard_TC0327 -
 11                     Bard_TC0354
 12     Exhibit 2       Amended and Restated Operating                  84
                        Agreement of Pratte Companies,
 13                     L.L.C., Bates stamped
                        Bard_TC0293 - Bard_TC0326
 14
        Exhibit 3       Operating Agreement of Pratte                   85
 15                     Lone Mountain Property, L.L.C.,
                        Bates stamped Bard_TC0087 -
 16                     Bard_TC0129
 17     Exhibit 4       Separation Agreement, Bates                    119
                        stamped Bard_TC0138 -
 18                     Bard_TC0141
 19     Exhibit 5       Redemption of Membership                       126
                        Interest, Bates stamped
 20                     Bard_TC0142
 21     Exhibit 6       String of emails, Bates stamped                133
                        JB001494
 22
        Exhibit 7       Two emails dated December 23,                  135
 23                     2014, Bates stamped JB002378
 24     Exhibit 8       Email dated August 13, 2015,                   138
                        Bates stamped JB002981
 25


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                                                                 Page 4
  1              VIDEOTAPED DEPOSITION OF JEFFREY MICHAEL BARDWELL

  2   commenced at 9:39 a.m. on March 6, 2020 at the law offices

  3   of KERCSMAR & FELTUS PLLC, 7150 East Camelback Road, Suite

  4   285, Scottsdale, ARIZONA, before SHERYL L. HENKE, a

  5   Certified Reporter, in and for the County of Maricopa,

  6   State of Arizona.

  7                                * * *

  8

  9                       A P P E A R A N C E S

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 24
      ALSO PRESENT:
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                                                                Page 56
  1        Q.     Okay.   What happened next?

  2        A.     We opened the envelopes.

  3        Q.     Okay.   So you opened them right there?

  4        A.     Yeah.   Right then and there we all opened the

  5   envelopes.

  6        Q.     Okay.   What you do remember next?

  7        A.     I remember looking at the envelopes.       And it was

  8   a check for $2 million, and I've never saw so many zeroes

  9   in my life.

 10        Q.     You were counting the zeros?

 11        A.     I was trying to.    I mean, I was more looking at

 12   the commas.    I mean, I was shocked, and so everybody else

 13   was shocked.

 14        Q.     Okay.

 15        A.     I mean, it's kind of strange because nobody said

 16   one word.     I mean, we were -- we were shocked.

 17        Q.     So everybody opens their envelopes.       Everyone's

 18   shocked that there is a $2 million check in this envelope.

 19   Do you remember Ron saying anything at that point?

 20        A.     You know, it was silence for a good minute,

 21   which is a long time, you know.       And Ron's like, what do

 22   you guys think, what do you guys think?        You know, and

 23   then after that time, everyone's like thank you.         You

 24   know, thank you so much.       And he kept looking at me, what

 25   do you think?    'Cause he loves to see people's reaction


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                                                                Page 57
  1   'cause he just loves that.      And I said it's like winning

  2   the lottery.    And he says, no, it's better than winning

  3   the lottery 'cause I'm paying the taxes on it.

  4        Q.     Say that just to you or say it to everybody?           I

  5   mean, you made the comment that it's like winning the

  6   lottery.

  7        A.     Mm-hm.

  8        Q.     You know, you said that around everybody, right?

  9        A.     I said that around everybody.

 10        Q.    So everybody could have heard that, right?

 11        A.    That's correct.

 12        Q.    Okay.     And then Ron says, no, it's better than

 13   winning the lottery because I'm paying the taxes on it?

 14        A.    That's correct.

 15        Q.    Okay.     Did he say that loud enough for everybody

 16   to hear?

 17        A.    Yes.

 18        Q.     Okay.    What do you remember next?

 19        A.     You know, then he says, well, you know, I hope

 20   you guys can start your business now.

 21        Q.    Okay.

 22        A.     You know, hopefully you guys can start up a

 23   construction business, you know.       And at that point it

 24   seemed to me that he was already talking to them about it.

 25        Q.     When you say it seemed like he was already


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                                                                     3/6/2020


                                                               Page 245
  1   STATE OF ARIZONA   )
                         ) ss.
  2   COUNTY OF MARICOPA )
  3
  4            BE IT KNOWN that the foregoing proceedings were
      taken by me, SHERYL L. HENKE, a Certified Reporter, in and
  5   for the County of Maricopa, State of Arizona; that the
      witness before testifying was duly sworn to testify to the
  6   whole truth; that the questions propounded to the witness
      and the answers of the witness thereto were taken down by
  7   me in shorthand and thereafter reduced to typewriting
      under my direction; that the witness will read and sign
  8   said deposition; that the foregoing pages are a true and
      correct transcript of all proceedings had, all done to the
  9   best of my skill and ability.
               I FURTHER CERTIFY that I am in no way related to
 10   any of the parties hereto, nor am I in any way interested
      in the outcome hereof.
 11            I FURTHER CERTIFY that I have complied with the
      ethical obligations set forth in ACJA 7-206(J)(1)(g)(1)
 12   and (2).
 13
      Sheryl L. Henke                                     50745
 14   _________________________________                _______________
      Certified Reporter                                  CR Number
 15
 16   _________________________________                   3.12.20
                                                       _______________
      Certified Reporter                                  Date
 17   (Signature)
 18
               I CERTIFY that this Registered Reporting Firm has
 19   complied with the ethical obligations set forth in
      ACJA 7-206(J)(1)(g)(1) and (2).
 20
 21   Carrie Reporting, LLC                               R1064
      _________________________________                _______________
 22   Registered Reporting Firm                           RRF Number
 23
      _________________________________                   3.12.20
                                                       _______________
 24   Registered Reporting Firm                           Date
      (Signature)
 25


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